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 BioSciences, Inc.

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

  PACIRA BIOSCIENCES, INC.,
                                               Civil Action No. 2:21 Civ. 09264
                             Plaintiff,

               v.                               Oral Argument Requested

  AMERICAN SOCIETY OF
  ANESTHESIOLOGISTS, INC., et al.,             MOTION DAY: May 17, 2021

                             Defendants.


       DECLARATION OF SARAH M. GRAGERT IN SUPPORT OF
       PLAINTIFF PACIRA BIOSCIENCES, INC.’S MOTION FOR
                  PRELIMINARY INJUNCTION



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      I, Sarah M. Gragert, declare under penalty of perjury, pursuant to 28 U.S.C.

§ 1746 as follows:

1.    I am a counsel of the law firm Latham & Watkins LLP, 555 11th St. NW,

Washington, D.C. 20004, counsel to Plaintiff Pacira BioSciences, Inc. (“Pacira”) in the

above-captioned matter. I am admitted to the Bars of Maryland and the District of

Columbia, and my pro hac vice admission to this Court is pending.

2.    I submit this Declaration in support of Pacira’s Motion for Preliminary Injunction

in the above-captioned action. I am familiar with all of the facts and circumstances set

forth herein.

3.    Attached as Exhibit 1 to the Motion for Preliminary Injunction is a true and

correct copy of the report of Dr. Thomas D. Trikalinos, M.D., Ph.D.

4.    Attached as Exhibit 2 to the Motion for Preliminary Injunction is a true and

correct copy of the report of Dr. Mary DiGiorgi, M.D., MPH.

5.    Attached as Exhibit 3 to the Motion for Preliminary Injunction is a true and

correct copy of the declaration of Dr. Charles Mehlman, D.O., MPH.

6.    Attached as Exhibit 4 to the Motion for Preliminary Injunction is a true and

correct copy of the statement of Dr. William Rayburn, M.D.

7.    Attached as Exhibit 5 to the Motion for Preliminary Injunction is a true and

correct copy of the declaration of Dr. Catherine Vandepitte, M.D., Ph.D.

8.    Attached as Exhibit 6 to the Motion for Preliminary Injunction is a true and

correct copy of the declaration of Dr. Scott Kreger, M.D.
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9.      Attached as Exhibit 7 to the Motion for Preliminary Injunction is a true and

correct copy of the declaration of Justin Sherrod.

10.     Attached as Exhibit 8 to the Motion for Preliminary Injunction is a true and

correct copy of the declaration of Daryl Gaugler.

11.     Attached as Exhibit 9 to the Motion for Preliminary Injunction is a true and

correct copy of an article authored by Defendant Dr. Evan Kharasch et al. entitled

Methadone and Ketamine: Boosting Benefits and Still More to Learn, and dated May

2021.

12.     Attached as Exhibit 10 to the Motion for Preliminary Injunction is a true and

correct copy of an article authored by Defendant Dr. Evan Kharasch et al. entitled

Opioid-free Anesthesia: Time to Regain Our Balance, and dated April 2021.

13.     Attached as Exhibit 11 to the Motion for Preliminary Injunction is a true and

correct copy of an article authored by Dr. Glenn S. Murphy et al. entitled Perioperative

Methadone and Ketamine for Postoperative Pain Control in Spinal Surgical Patients,

and dated February 2021.

14.     Attached as Exhibit 12 to the Motion for Preliminary Injunction is a true and

correct copy of an analysis by investment bank Cowen, dated April 6, 2021.

15.     Attached as Exhibit 13 to the Motion for Preliminary Injunction is a true and

correct copy of an email from Defendant Dr. Evan Kharasch to an anesthesiologist

rejecting publication of a letter, dated February 8, 2021. To protect the confidentiality

of the doctor’s name, I am not identifying him here.
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16.     Attached as Exhibit 14 to the Motion for Preliminary Injunction is a true and

correct copy of a screen grab of Defendant American Society of Anesthesiologists’

website showing its most-viewed stories, dated February 18, 2021.

17.     Attached as Exhibit 15 to the Motion for Preliminary Injunction is a true and

correct copy of the January 2021 cover of Defendant American Society of

Anesthesiologists’ magazine Anesthesiology, dated January 2021.

18.     Attached as Exhibit 16 to the Motion for Preliminary Injunction is a true and

correct copy of the February 2021 cover of Defendant American Society of

Anesthesiologists’ magazine Anesthesiology, dated February 2021.

19.     Attached as Exhibit 17 to the Motion for Preliminary Injunction is a true and

correct copy of a screen grab of an email from the president of Defendant American

Society of Anesthesiologists, dated April 12, 2021.

20.     Attached as Exhibit 18 to the Motion for Preliminary Injunction is a true and

correct copy of excerpts of a meeting transcript from the Food & Drug Administration’s

Anesthetic and Analgesic Drug Products Advisory Committee, dated February 15,

2018.

21.     Attached as Exhibit 19 to the Motion for Preliminary Injunction is a true and

correct copy of an email from an anesthesiologist to Pacira, dated February 6, 2021. To

protect the confidentiality of the doctor’s name, I am not identifying him here.




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22.   Attached as Exhibit 20 to the Motion for Preliminary Injunction is a true and

correct copy of a screen grab of an invite from Pacira competitor AVANOS to an event,

dated March 17, 2021.



Dated: April 14, 2021
Washington, District of Columbia


                                             Respectfully submitted,



                                             Sarah M. Gragert (PHV pending)
                                             of LATHAM & WATKINS LLP




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